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  Description Appearance Sheet for the United States District Court Western District of
                Virginia Charlottesville Division; Sines, et al v. Kessler, et al; Case No.
                3:17CV72; Date: 1/4/19; Type of Hearing: Telephonic Motion/Discovery;
                Parties: 1. Joel C. Hoppe; 2. Gabrielle Tenzer; 3. James Kolenich; 4. Robert
                Ray; 5. Alan Levine; 6. John DiNucci; 7. David Mills; Roberta Kaplan;
                Recorded by: Heidi N. Wheeler; Time in Court: 38: min

  Date          1/4/2019 Location [CVILLE-3FTR]
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Appearance Sheet for the United States District Court Western District of Virginia Charlottesville
                                                                                    [CVILLE-3FTR]  Di

      Time         Speaker                                   Note
   2:04:15 PM     1
   2:04:33 PM     2            Gabrielle Tenzer
   2:04:51 PM     1
   2:04:55 PM     3            James Kolenich
   2:05:02 PM     1
   2:05:06 PM     4            Robert Ray
   2:05:48 PM     1
   2:07:00 PM     1
   2:07:07 PM     3            James Kolenich regarding BK of Damigo
   2:07:30 PM     1
   2:07:36 PM     5            Alan Levine
   2:08:11 PM     1            Request to extend deadlines addressed
   2:08:56 PM     5
   2:12:01 PM     1
   2:12:13 PM     5,1
   2:12:42 PM     6            John DiNucci
   2:12:49 PM     7            David Mills
   2:12:54 PM     1
   2:13:42 PM     3
   2:13:45 PM     1
   2:14:02 PM     3
   2:14:29 PM     1
   2:14:33 PM     6
   2:15:45 PM     1
   2:15:57 PM     2            Gabrielle Tenzer
   2:16:56 PM     1,2
   2:17:17 PM     6,1
   2:17:23 PM     6,1
   2:18:16 PM     6,2
   2:19:23 PM     1,2
   2:20:16 PM     1,2
   2:20:44 PM     1,2
   2:21:21 PM     1,6
   2:22:03 PM     1
   2:23:07 PM     5,1          Deadlines adjusted
   2:23:26 PM     5,1,2
   2:24:56 PM     1,2
   2:25:30 PM     1,3
   2:26:22 PM     1,3          Mr. Heimbach has terminated Mr. Kolenich and Mr. Woodard as
                               counsel
   2:27:22 PM 5,1
   2:27:56 PM 1,3


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Appearance Sheet for the United States District Court Western District of Virginia Charlottesville
                                                                                    [CVILLE-3FTR]  Di

   2:28:19 PM     1            Motion to Withdraw as to Heimbach granted
   2:29:01 PM     3,1          Court needs contact information for Mr. Heimbach
   2:29:44 PM     1,3          As to Mr. Ray-under advisement status
   2:30:12 PM     1,4          Robert Ray
   2:32:25 PM     1            Motion taken under advisement
   2:33:54 PM     3
   2:33:58 PM     1,5          Alan Levine
   2:36:17 PM     1,3
   2:36:41 PM     1,5,3
   2:37:19 PM     5,1
   2:38:01 PM     3,5
   2:38:40 PM     1,4
   2:39:03 PM     1,4,1,5
   2:40:10 PM     1,8          Roberta Kaplan
   2:41:06 PM     1,5
   2:41:35 PM     1,3
   2:41:40 PM     1,6
   2:41:51 PM     1,7          David Mills
   2:42:01 PM     1,5
   2:42:10 PM     1            Order will issue
   2:42:20 PM     END




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